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                                UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


      UNITED STATES, et al.,

                             Plaintiffs,
             v.
                                                        No: 1:23-cv-00108-LMB-JFA
      GOOGLE LLC,

                             Defendant.


         NON-PARTY LINKEDIN CORPORATION’S MOTION TO FILE UNDER SEAL
            Pursuant to Local Rule 5(C) and the Modified Protective Order (ECF No. 203, at 25), non-

  party LinkedIn Corporation (“LinkedIn”) respectfully submits this Motion to Seal

  contemporaneously with its Motion to Redact. For all the reasons articulated in LinkedIn’s Motion

  to Redact, accompanying Memorandum of Law, and supporting declaration, LinkedIn requests

  that this Court file under seal the unredacted version of DTX 2221.1 The exhibit was provisionally

  filed under seal concurrently with LinkedIn’s Motion to Redact and pursuant to this Court’s Order

  outlining the procedure by which a non-party can object to the public use of confidential

  documents. See ECF No. 871.

      Dated: July 26, 2024                        Respectfully submitted,
                                                  s/ John (Jay) Jurata, Jr.
                                                  John (Jay) Jurata, Jr. (VA Bar No. 46314)
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                                                  Attorney for Non-Party LinkedIn Corporation

  1
         A redacted version of DTX 2221 is attached hereto as Exhibit A. The lettering of the
  Exhibit attached here corresponds with how the same Exhibit is lettered in the related Motion to
  Redact.
